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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Vv. 25-CR-71
DAYZON MCCARTHY,

Defendant.

PRELIMINARY ORDER OF FORFEITURE

WHEREAS, on June 5, 2025, the defendant DAYZON MCCARTHY, pled guilty to
Count | of the Information (Dkt. 19) charging a violation of Title 18, United States Code,

Sections 933(a)(1) (trafficking in firearms);

WHEREAS, based upon the defendant’s conviction of Count 1, and from his
agreement (Dkt. 20) that the below property is subject to forfeiture, the government has
established the requisite nexus between the defendant’s violation of Title 18, United States
Code, Sections 933(a)(1) and the following property subject to forfeiture:

a. One (1) Glock 43 pistol, 9 CAL, S/N CCL5134, with attached
magazine;

b. Nine (9) rounds of 9 CAL ammunition;

c One (1) Glock 17 pistol, 9 CAL, S/N SGLI117, with attached
magazinegun conversion device;

d. One (1) Glock 26 pistol, 9 CAL, S/N ACKB758, with attached
magazine;

e. One (1) black PMF pistol, S/N A9VC693, with attached machinegun
conversion device;
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f. One (1) Ruger 57, S/N 641-97530, with attached magazine;

g. Sixteen (16) rounds of 5.7 CAL ammunitions;

h. One (1) Diamondback DB-15 AR pistol, .223 CAL, S/N 1803855;
i. One (1) silver machinegun conversion device;

j. One (1) Glock pistol, lower receiver, S/N KA205525;

k, One (1) box w/ six (6) switches;

1. One (1) Glock 26 pistol, 9 CAL, S/N BSRM706, with attached
magazine;

m, One (1) blue attached machinegun conversion device;

n. Unknown quantity of 9 CAL Sig Saur Ammunition;

Oo. Three (3) boxes of assorted ammunition;

p. One (1) Glock 27 pistol, 40 CAL, S/N CBWA284;

q. One (1) Heckler & Kosh USP Pistol, Lower Receiver, S/N 27003471;

r. One (1) Glock 19 pistol, Lower Receiver;

s. One (1) Glock 19 pistol, Upper Receiver S/N GEM208; and

t. Assorted rounds of ammunitions.

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
DECREED, that pursuant to Federal Rule of Criminal Procedure 32.2(b)(2), Title 18, United
States Code, Sections 924(d) and 3665, and Title 28, United States Code, Section 2461(c), the
defendant’s right, title, and interest in the above property is hereby condemned and forfeited

to the United States of America; it is further

ORDERED, ADJUDGED, AND DECREED, that pursuant to Federal Rule of

Criminal Procedure 32.2(b)(3), and Title 21, United States Code, Section 853(g), the United
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States of America is authorized to seize and take all steps necessary and appropriate to protect
its interest in the above property, including taking actual possession of the above property.
Any person or entity which has possession of, or jurisdiction over the above property, is
directed to make the above property available to federal authorities in accordance with this

Order; it is further

ORDERED, ADJUDGED, AND DECREED, that pursuant to Federal Rule of
Criminal Procedure 32.2(b)(3) and Title 21, United States Code, Section 853(h), following
the seizure of the above property, the Attorney General, through the United States Attorney’s
Office and/or any other duly authorized federal agency, shall direct the disposition of the

above property making due provision for the rights of any innocent persons; it is further

ORDERED, ADJUDGED, AND DECREED, that pursuant to Federal Rule of
Criminal Procedure 32.2(b)(6)(A) and Title 21, United States Code, Section 853(n)(1), the
United States shall publish notice of this Order and of its intent to dispose of the above
property in such manner as the Attorney General, through the United States Attorney’s Office
and/or any other duly authorized federal agency, may direct. The United States may also,
to the extent practicable, provide direct written notice to any person known to have alleged
an interest in any portion of the above property, as a substitute for published notice as to those

persons so notified; it is further

ORDERED, ADJUDGED, AND DECREED, that pursuant to Title 21, United
States Code, Section 853(n)(2), any person, other than the defendant, having or claiming a

legal interest in the above property, must file a petition with the court within thirty (30) days
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of the final publication of notice, or of receipt of actual notice, whichever is earlier, for a
hearing to adjudicate the validity of the petitioner’s alleged interest in the above property; it

is further

ORDERED, ADJUDGED, AND DECREED, that pursuant to Title 21, United
States Code, Section 853(n)(3), any petition shall be signed by the petitioner under penalty of
perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in the
above property, and any additional facts supporting the petitioner’s claim and the relief

sought; it is further

ORDERED, ADJUDGED, AND DECREED, pursuant to Federal Rule of Criminal
Procedure 32.2(b)(4)(A) and (B), this Preliminary Order shall become final as to the defendant
at the time of the defendant’s sentencing and shall be made part of the defendant’s sentence
and included in his judgment of conviction. If no third-party files a timely claim, this
Preliminary Order, together with Supplemental Orders of Forfeiture, if any, shall become the
Final Order of Forfeiture, as provided by Federal Rule of Criminal Procedure 32.2(c)(2). At
that time, the monies and/or properties forfeited herein shall be forfeited to the United States

for disposition in accordance with the law.

SO ORDERED.
Dated: June 9, 2025
Buffalo, New York
LAN ce

. SINATRA JR.
ae ED STATES DISTRICT JUDGE
